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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                        8:17CR286

       vs.
                                                                           ORDER
ALEJANDRO VALDIVIA-ORTIZ,

                       Defendant.


       This matter is before the court on defendant's MOTION TO EXTEND PRETRIAL
MOTIONS DEADLINE [112]. For good cause shown, I find that the motion should be granted. The
defendant will be given an approximate 60-day extension.          Pretrial Motions shall be filed by
January15, 2018.


       IT IS ORDERED:
       1.      Defendant's MOTION TO EXTEND PRETRIAL MOTIONS DEADLINE [112] is
granted. Pretrial motions shall be filed on or before January 15, 2018.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between today’s date and January 15, 2018, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act for the
reason defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


       Dated this 15th day of November, 2017.

                                                       BY THE COURT:

                                                       s/ Michael D. Nelson
                                                       United States Magistrate Judge
